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(6/21)
United States District Court JAN 25 2023
for AT 8:30......-.....4.
WILLIAM T. WALSH
District of New Jersey CLERK
Request for Modifying the Conditions or Term of Supervision
with Consent of the Individual Under Supervision
(Probation Form 49, Waiver of Hearing is Attached)

Name of Individual Under Supervision: Matthew Rublowitz Cr.: 14-00334-003

PACTS #: 64722

Name of Sentencing Judicial Officer: THE HONORABLE FREDA L. WOLFSON
CHIEF UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 03/27/2015

Original Offense: Count One: Conspiracy To Distribute Narcotics, 21:846
Count Two: Fraud And False Statements, 26:7206

Original Sentence: 80 months imprisonment, 36 months supervised release

Special Conditions: Special Assessment, Substance Abuse Testing, Alcohol Treatment, Drug Treatment,
Financial Disclosure, Life Skills Counseling, Cooperate with IRS, Mental Health Treatment, No New
Debt/Credit

Type of Supervision: Term of Supervised Release Date Supervision Commenced: March 9, 2021

PETITIONING THE COURT

I” To extend the term of supervision for years, for a total term of years.

lM To modify the conditions of supervision as follows:

COMMUNITY SERVICE (40 hours as directed by the U.S. Probation Office)

You must contribute 40 hours of community service work at the direction of the U.S. Probation
Office. Such service will be without compensation, with the specific work placement to be
approved by the U.S. Probation Office.

CAUSE

Violation of Supervised Release: On September 27, 2022, it was discovered Mr. Rublowitz opened five
new lines of credit with the following companies: 1) Credit One Bank, in the amount of $800; 2) Capital
One, in the amount of $850; 3)Syncb/JC Penny, in the amount of $700; 4) First Franklin Financial, in the
amount of $939; and 5) Capital One, in the amount of $1,000. Mr. Rublowitz informed the U.S. Probation
Officer he thought the condition was no longer in affect since restitution was being collected. In addition,
he explained that he began to experience hardship which resulted in opening the new accounts. The
Probation Officer instructed Mr. Rublowitz to discontinue the use of the new lines of credit immediately
and to pay off all remaining balances.

This report and recommendation is courtesy of the U.S. Probation Office, District of South Carolina where
Mr. Rublowitz is being actively supervised.
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Matthew Rublowitz
Respectfully submitted,

SUSAN M. SMALLEY, Chief
U.S. Probation Officer

Erie Dethhoff
By: ERIC DETHLOFF
Supervising U.S. Probation Officer

/ so

APPROVED:

Sharon O Brien October 26, 2022

SHARON O’BRIEN Date
Supervising U.S. Probation Officer

THE COURT ORDERS:

[- The Extension of Supervision as Noted Above

TX The Modification of Conditions as Noted Above (as recommended by the Probation Office)
T” No Action

™ Other

Pckigd my _

Signature of Judicjal Officer

January 25, 2023
Date

